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                             UNITED STATES DISTRICT COURT                             Jun 11, 2021
                             MIDDLE DISTRICT OF TENNESSEE
                                                                                   Vicki Kinkade
                                                                                    Chief Deputy Clerk
 IN RE:

 OBLIGATION OF COUNSEL TO                         )
 KEEP COURT APPRISED OF                           }    ADMINISTRATIVE ORDER NO. 217
 CURRENT CONTACT                                  )
 INFORMATION                                      )



                                              ORDER

       Pursuant to Administrative Order No. 167-1, attorneys practicing before the Court are

required, absent good cause shown, to register as filing users of the Case Management Electronic

Case Filing (CM/ECF) system. The CM/ECF registration form is available on the Court's website

at htths://www.tnmd.uscourts.gov/content/register-cmeef-account. Registration requires the

registrant attorney's name, firm name, mailing address, telephone number, and e-mail address,

along with confirmation that the attorney is admitted to practice before the Court.

       Administrative Order No. 167-1 also requires attorneys to maintain a PACER account and

certify that they have read and will abide by the Electronic Case Filing Practices and Procedures.

       To ensure that counsel keeps the Court apprised of current contact information, every

attorney admitted to practice before this Court shall notify the Court of any change of the attorney's

name, firm name, mailing address, telephone number, or e-mail address, within five (5) business

days of the change by filing a notice in all pending cases. Attorneys are also required to update

their primary e-mail addresses in CM/ECF within five (5) business days of any change.

       When opening cases in the ECF system, the Cleric is directed to enter this Administrative

Order as part of the record in each case, effective immediately.




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IT IS SO ORDERED.




                                          ALETA A. TRAUGER
                                          United States District Judge




WILLIAM L. CAkTPBVA, JR.                  ELI J. RICHARDSON
United States District J dge              United States District Judge




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